Case 15-66682-jrs        Doc 12       Filed 10/06/15 Entered 10/06/15 07:43:10                   Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION
In Re:                                                )     Chapter 13
Tyriom Demetrice Edwards                              )     Case No. 15-66682-JRS
                                                      )     Judge James R. Sacca
                                                      )
                                  NOTICE OF APPEARANCE AND
                                REQUEST FOR SERVICE OF PAPERS

        Please take notice that Julie Mehelic, Georgia Bar #550325 on behalf of Wells Fargo Bank, N.A.,
its successors or assigns, hereby enters her appearance as attorney for Wells Fargo Bank, N.A., its
successors or assigns, in the above proceeding, and pursuant to Bankruptcy Rule 2002, requests that her
name be added to the mailing list maintained by the Clerk in the above case and that all notices given or
required to be given in this case and all papers served or required to be served in this case be given to and
served upon the following:
                                 Julie Mehelic
                                 Shapiro Pendergast & Hasty, LLP
                                 2872 Woodcock Blvd.
                                 Suite 100
                                 Atlanta, GA 30341-3941
        Please take further notice that the foregoing request includes the notices and papers referred to in
Rule 2002 of the Bankruptcy Rules and also includes, without limitation, notices of any orders, pleadings,
motions, applications, complaints, demands, hearings, requests or petitions, answering or reply papers,
memoranda and briefs in support of any of the foregoing and any other document brought before this
Court with respect to these proceedings, whether formal or informal, whether written or oral, and whether
transmitted or conveyed by mail, delivery, telephone, telegraph, telex or otherwise.
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        Dated _____________________________
                                                  Shapiro Pendergast & Hasty, LLP

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                                                  Julie Mehelic
                                                  Georgia Bar No. 550325
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                                                  Atlanta, GA 30341-3941
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